
45 So. 3d 816 (2010)
Richard L. SHEPPARD, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-161.
District Court of Appeal of Florida, Third District.
August 11, 2010.
Rehearing Denied October 27, 2010.
*817 Richard L. Sheppard, in proper person.
Bill McCollum, Attorney General, and Douglas J. Glaid, Assistant Attorney General, for appellee.
Before COPE, WELLS, and SALTER, JJ.
WELLS, Judge.
Richard L. Sheppard appeals an order summarily denying his motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a). Based on the State's proper confession of error, we reverse the "hard labor" condition of the defendant's life sentence for second degree murder and remand with instructions that the lower court strike this condition. The defendant need not be present for resentencing. We affirm the denial of the balance of the motion in all respects.
Affirmed in part, reversed in part, and remanded with instructions.
